                                                                                                                              Case 2:22-cv-00401-GMN-DJA Document 27 Filed 07/07/22 Page 1 of 3



                                                                                                                          1   Joel E. Tasca, Esq.
                                                                                                                              Nevada Bar No. 14124
                                                                                                                          2   Maria A. Gall, Esq.
                                                                                                                              Nevada Bar No. 14200
                                                                                                                          3   BALLARD SPAHR LLP
                                                                                                                              1980 Festival Plaza Drive, Suite 900
                                                                                                                          4   Las Vegas, Nevada 89135
                                                                                                                              Telephone: (702) 471-7000
                                                                                                                          5   Facsimile: (702) 471-7070
                                                                                                                              tasca@ballardspahr.com
                                                                                                                          6   gallm@ballardspahr.com

                                                                                                                          7   Patrick R. Morris, Esq.
                                                                                                                              (admitted pro hac vice)
                                                                                                                          8   MORRIS LEGAL CORP.
                                                                                                                              1441 Broadway, 3rd Floor
                                                                                                                          9   Telephone: (646) 692-4012
                                                                                                                              Facsimile: (929) 296 -7680
                                                                                                                         10   prm@patrickmorrislaw.com

                                                                                                                         11 Attorneys for Immunotech Laboratories, Inc.

                                                                                                                         12
                    1980 FESTIVAL PLAZA DRIVE, SUITE 900




                                                                                                                                                 IN THE UNITED STATES DISTRICT COURT
                                                                                                                         13
                                                           LAS VEGAS, NEVADA 89135
                                                                                     (702) 471-7000 FAX (702) 471-7070
BALLARD SPAHR LLP




                                                                                                                                                       FOR THE DISTRICT OF NEVADA
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                                                                                                                         15   DIMITAR SAVOV,                                  Case No. 2:22-cv-00401-GMN-DJA
                                                                                                                         16                      Plaintiff,
                                                                                                                                                                                 MOTION TO SUBSTITUTE
                                                                                                                         17   v.                                                  RESIDENT COUNSEL
                                                                                                                         18   IMMUNOTECH LABORATORIES, INC.,
                                                                                                                         19                      Defendants.
                                                                                                                         20

                                                                                                                         21         On May 9, 2022, the court granted Patrick R. Morris’s Verified Petition for
                                                                                                                         22   Permission to Practice in this Case Only (ECF No. 16 & 17) as counsel for Defendant
                                                                                                                         23   Immunotech Laboratories, Inc.      In Mr. Morris’s verified petition, Immunotech
                                                                                                                         24   designated Maria A. Gall, Esq. as its Nevada resident counsel. Effective on Friday,
                                                                                                                         25   July 8, 2022, Ms. Gall is disassociating from Ballard Spahr LLP and withdrawing as
                                                                                                                         26   counsel of record in this case.   Accordingly, Immunotech now designates Joel E.
                                                                                                                         27   Tasca, Esq. as its new resident counsel in this action and asks the Court to approve
                                                                                                                         28   the substituted designation.
                                                                                                                              Case 2:22-cv-00401-GMN-DJA Document 27 Filed 07/07/22 Page 2 of 3



                                                                                                                         1          Dated: July 5, 2022
                                                                                                                         2                                       BALLARD SPAHR LLP
                                                                                                                         3                                       By: /s/ Joel E. Tasca
                                                                                                                                                                    Joel E. Tasca, Esq.
                                                                                                                         4                                          Nevada Bar No. 14124
                                                                                                                                                                    Maria A. Gall, Esq.
                                                                                                                         5                                          Nevada Bar No. 14200
                                                                                                                                                                    1980 Festival Plaza Drive, Suite 900
                                                                                                                         6                                          Las Vegas, Nevada 89135
                                                                                                                         7                                          -with-
                                                                                                                         8                                             Patrick R. Morris, Esq.
                                                                                                                                                                       (admitted pro hac vice)
                                                                                                                         9                                             Morris Legal Corp.
                                                                                                                                                                       New York Bar No. 5575501
                                                                                                                         10                                            1441 Broadway, 3rd Floor
                                                                                                                                                                       New York, New York 10013
                                                                                                                         11
                                                                                                                                                                 Attorneys for Immunotech Laboratories, Inc.
                                                                                                                         12
                    1980 FESTIVAL PLAZA DRIVE, SUITE 900




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                                                           LAS VEGAS, NEVADA 89135
                                                                                     (702) 471-7000 FAX (702) 471-7070
BALLARD SPAHR LLP




                                                                                                                         14         IT IS SO ORDERED.
                                                                                                                         15
                                                                                                                                              July 7, 2022
                                                                                                                         16         Dated:
                                                                                                                         17

                                                                                                                         18

                                                                                                                         19         ____________________________________
                                                                                                                                    DANIEL J. ALBREGTS
                                                                                                                         20         UNITED STATES MAGISTRATE JUDGE
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                                                                                                                         1                                CERTIFICATE OF SERVICE
                                                                                                                         2          I certify that on July 5, 2022, a true and correct copy of the foregoing MOTION
                                                                                                                         3    TO SUBSTITUTE RESIDENT COUNSEL was served electronically on the following
                                                                                                                         4    parties:
                                                                                                                         5          Dimitar Savov
                                                                                                                                    61 Nishava str. ent. A, Fl. 3 apt. 6
                                                                                                                         6          Sofia 1680
                                                                                                                                    Bulgaria
                                                                                                                         7          Email: dimitar.savov@ymail.com

                                                                                                                         8
                                                                                                                                                                       /s/ Adam Crawford
                                                                                                                         9                                            An employee of BALLARD SPAHR LLP

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                    1980 FESTIVAL PLAZA DRIVE, SUITE 900




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                                                           LAS VEGAS, NEVADA 89135
                                                                                     (702) 471-7000 FAX (702) 471-7070
BALLARD SPAHR LLP




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